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 7

 8                                    UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:14-CR-00300-GEB
12                                 Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                           v.                           [PROPOSED] FINDINGS AND ORDER
14   RENE JAQUEZ CORRAL,                                  DATE: May 26, 2017
                                                          TIME: 9:00 a.m.
15                                 Defendant.             COURT: Hon. Garland E. Burrell, Jr.
16

17                                                STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.       By previous order, this matter was set for status on May 26, 2017.

21          2.       By this stipulation, defendant now moves to continue the status conference until June 16,

22 2017, and to exclude time between May 26, 2017, and June 16, 2017, under Local Code T4.

23          3.       The parties agree and stipulate, and request that the Court find the following:

24                   a)     Counsel for defendant desires additional time meet with his client and discuss

25          potential resolution and otherwise prepare for trial.

26                   b)     Counsel for defendant believes that failure to grant the above-requested

27          continuance would deny him the reasonable time necessary for effective preparation, taking into

28          account the exercise of due diligence.


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30    PERIODS UNDER SPEEDY TRIAL ACT
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 1                   c)     The government does not object to the continuance.

 2                   d)     Based on the above-stated findings, the ends of justice served by continuing the

 3          case as requested outweigh the interest of the public and the defendant in a trial within the

 4          original date prescribed by the Speedy Trial Act.

 5                   e)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 6          et seq., within which trial must commence, the time period of May 26, 2017 to June 16, 2017,

 7          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

 8          because it results from a continuance granted by the Court at defendant’s request on the basis of

 9          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

10          of the public and the defendant in a speedy trial.

11          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

12 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

13 must commence.

14          IT IS SO STIPULATED.

15

16
     Dated: May 9, 2017                                        PHILLIP A. TALBERT
17                                                             United States Attorney
18
                                                               /s/ JUSTIN L. LEE
19                                                             JUSTIN L. LEE
                                                               Assistant United States Attorney
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21
     Dated: May 9, 2017                                        /s/ JESSE GARCIA
22                                                             JESSE GARCIA
23                                                             Counsel for Defendant
                                                               RENE JAQUEZ CORRAL
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      STIPULATION REGARDING EXCLUDABLE TIME                2
30    PERIODS UNDER SPEEDY TRIAL ACT
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 1                                      FINDINGS AND ORDER

 2        IT IS SO FOUND AND ORDERED.

 3        Dated: May 9, 2017

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     STIPULATION REGARDING EXCLUDABLE TIME      3
30   PERIODS UNDER SPEEDY TRIAL ACT
